21-01180-jlg          Doc 40     Filed 12/01/21 Entered 12/01/21 11:26:50           Main Document
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December 1, 2021


Via ECF
Hon. James L. Garrity, Jr.
United States Bankruptcy Court
Southern District of New York
One Bowling Green, Courtroom 601
New York, New York 10004

        Re:         Piazza v. Oldner, et al., Adv. Pro. No. 21-01180 (JLG);
                    In re Orly Genger, Case No. 19-13895-JLG

Dear Judge Garrity:

       By this letter, Debtor withdraws the “motion” filed at Document No. 39 (dated November
26, 2021) in this adversary proceeding. That filing is a joinder, but was mistakenly filed under
the wrong filing code, incorrectly designating it a motion. Debtor’s joinder is being refiled today
under the correct code.


                                                         Respectfully submitted,

                                                         /s Michael Paul Bowen

cc: All Counsel (via ECF)




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